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                            Exhibit D
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                   CASE NO.: 1:20-cv-22800-RNS

   DIEGO AGNELLI,

           Plaintiff,

   v.

   LENNOX MIAMI CORP.,
           Defendant.


                                               ORDER

          THIS CAUSE came before the Court on Plaintiff’s Motion For A One Month Continuance

   Of Trial As A Result Of The Denial Of Plaintiff’s Visa Application And Request For Expedited

   Resolution On New Visa Application Currently Pending Or, In The Alternative, In Further Support

   Of Bifurcation and Request for Expedited Briefing Schedule (the “Motion”) and the Court, having

   read the Motion and being otherwise fully advised in premises, does hereby:

          ORDER and ADJUDGE,

          1.      Plaintiff’s Motion is GRANTED.

          2.      Trial in this matter is continued for one (1) month and is set for May 2022.

          3.      Mr. Diego Agnelli is required to attend the trial set to begin Monday, May__, 2022

   and shall make any and all efforts necessary to secure authorization from the U.S. State Department

   and/or the U.S. Department of Homeland Security to attend the trial.

          4.      This Order shall serve to advise the U.S. State Department and/or the U.S.

   Department of Homeland Security of the Court’s interest in Mr. Agnelli’s physical attendance at

   the trial in this case for the purposes of determining whether Mr. Agnelli should be granted the
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   visa the Court has been informed he is requesting to attend this trial and the trial in his divorce

   proceeding.

            5.     This Order may be provided to the U.S. State Department and/or the U.S.

   Department of Homeland Security.




            DONE and ORDERED in Miami, Florida on this ____ day of February, 2022.




                                                        __________________________________
                                                        ROBERT N. SCOLA
                                                        UNITED STATES DISTRICT JUDGE

                                                        cc: counsel of record




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